                       Case 1:21-cr-00190-DLF Document 1 Filed 01/25/21 Page 1 of 1
AO 91 (Rev. 11/11) Criminal Complaint



                                        UNITED STATES DISTRICT COURT
                                                                  for the
                                                            District of &ROXPELD

                  United States of America                           )
                             v.                                      )
                  Zachary Jordan Alam                                )      Case No.
                                                                     )
                                                                     )
                                                                     )
         'DWHRI%LUWK;;;;;;;;                                    )
                          Defendant(s)


                                                  CRIMINAL COMPLAINT
          I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                     January 6, 2021              in the county of                              in the
                         LQWKH'LVWULFWRI       &ROXPELD , the defendant(s) violated:

             Code Section                                                     Offense Description

             18 U.S.C. §§ 111(a) and (b) - Assault on a Federal Officer with a Dangerous or
             Deadly Weapon
             18 U.S.C. § 1361 - Destruction of Government Property over $1,000
             18 U.S.C. § 1512(c)(2) - Obstruction of an Official Proceeding
             18 U.S.C. §§ 1752(a) and (b) - Unlawful Entry on Restricted Building or Grounds
             40 U.S.C. §§ 5104(e)(2)(D), (F) and (G) - Violent Entry and Disorderly Conduct


         This criminal complaint is based on these facts:
  6HHDWWDFKHGVWDWHPHQWRIIDFWV




         9
         u   Continued on the attached sheet.


                                                                                               Complainant’s signature

                                                                                   Rosemaria Marketos, Special Agent
                                                                                               Printed name and title
$WWHVWHGWRE\WKHDSSOLFDQWLQDFFRUGDQFHZLWKWKHUHTXLUHPHQWVRI)HG5&ULP3
E\WHOHSKRQH
                                                                                                           2021.01.25
Date:             01/25/2021
                                                                                                           22:12:54 -05'00'
                                                                                                  Judge’s signature

City and state:                         :DVKLQJWRQ'&                          Zia M. Faruqui, U.S. Magistrate Judge
                                                                                               Printed name and title
